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                            UNITED STATES DISTRICT COURT
                              DISTRICT OF CONNECTICUT

FAITH CARTER,
           Plaintiff,
v.                                                     Case No. 3:17-cv-02111 (WWE)

AUTOZONERS, LLC.,
         Defendant.
                                       JUDGMENT

       This matter came on for consideration of defendant’s motion for summary

judgment [doc. #21] before the Honorable Warren W. Eginton, Senior United States

District Judge. The Court, having considered the full record of the case including

applicable principles of law, granted the defendant’s motion. Accordingly, judgment shall

enter in favor of the defendant. It is therefore;

       ORDERED, ADJUDGED and DECREED that judgment is entered in favor of

Autozoners, LLC. and the case is closed.

       Dated at Bridgeport, Connecticut, this 22nd day of August 2019.



                                                       ROBIN D. TABORA, Clerk

                                                       By: /s/ Kristen Gould
                                                          Kristen Gould
                                                           Deputy Clerk


EOD: 8/22/2019
